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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS



LILIAN PAHOLA CALDERON JIMENEZ
and LUIS GORDILLO, etal.,

Individually and on behalf of all others
similarly situated,
                                                    No. l:18-cv-10225-MLW
               P laintiffs-Petitioners,

       V.



KIRSTJEN M. NIELSEN, etal,

               Defendants-Respondents.


                                      JOINT REPORT


       This Court has ordered the parties to confer and report, by January 14, 2019,

whether they have reached an agreement on conditions to be imposed on the requested stay

and, if not, their respective positions. The parties request an extension, until January 15,

2019, to file their joint report so that they can continue to confer regarding the conditions.

See ECF No. 206 (allowing for the parties to jointly requestan extension of this deadline).

       Respectfully submitted this 14th day of January, 2019.




                                                    —}a.v\.
